§§§4-cV-02617 Dp.aument #: 1 Filed: ,04/12/04 Page 1 cL_ZS Page|D #:1

f EWEL,`

‘1.

/- lN THE UN;TED STATES DISTRICT cOURT
‘“'°HAEL_ mmht§§N DISTRICT OF tLLiNOIS, EASTERN DIVISION

\iJCI..ERK. U.S. DISTR|CT COURT

DIANE BOND,
Plaintiff
v.

CI-[ICAGO POLICE OFFICERS EDWIN
UTRERAS (Star No. 19901), ANDREW
SCHOEFF (Star NO. 4436), CHRIST
SAVICKAS (Star No. 5991), ROBERT
STEGMILLER (Star No. 18764), JOSEPH
SEINITZ (Star No. 4947), ROBERT
SCHULTZ (Star No. 13882), NICHOLAS
CORTESI (Star No. 15112), JOHN CANNON
(Star NO. 12241), ROBERT FRANKS (Star
No. 15935), WAYNE NOVY' (Star No. 2733),
and JOHN DOES ONE through FIVE, in their
individual capacities; and the"'CITY OF
CHICAGO,

Defendants.

COMPLAINT

\_/\_/\_/\-/\_/\_/\_/VV\./\_/\_/\_/v\_/\_/\_/\_/\_/\-/\_/

     

No. '

.IURY TRIAL DEMANDED

__ n "_ _ n _,...~_,..¢»‘\\.2
wl gm§-_\q'§ ch ".E\.~ . . ii

Plaintiff DIANE BOND, by counsel, for her complaint against defendants CHICAGO

POLICE OFFICER EDWIN UTRERAS (Star NO. 19901), CH[CAGO POLICE OFFICER

ANDREW SCHOEFF (Star NO. 4436), CHICAGO POLICE OFFICER CHRIST SAVICKAS (Star

No. 5991), CHICAGO POLICE OFFICER ROBERT STEGMILLER (Star NO. 18764), CHICAGO

POLICE OFFICER JOSEPH SElNlTZ (Star NO. 4947), CHICAGO POLICE OFFICER ROBERT

SCHULTZ (Star NO. 13882), CHICAGO POLICE OFFICER NICHOLAS CORTESI (Star NO.

151 12), CHICAGO POLICE OFFICER JOHN CANNON (Star NO. 12241), CHICAGO POLICE

CaSe: 1:04-cv-02617 Document #: 1 Filed: 04/12/04 Page 2/0¥\23 Page|D #:2

OFFICER ROBERT FRANKS (Star No. 15935), CHICAGO POLICE OFFICER WAYNE NOVY
(Star No. 2733), CHICAGO POLICE OFFICERS J'OHN DOE ONE through FIVE, all in their
individual capacities,l and TI-IE CITY OF CHICAGO, alleges as follows:
INTRODUCTION

1. This is a civil rights action for damages and injunctive relief brought pursuant to the
Fourth and Fourteenth Arnendments to the United States Constitution, 42 U.S.C. §§ 1983 and 1988,
28 U.S.C. § 2201 et seq., the Illinois Hate Crimes Act, and Illinois common law for the torts of
assault and battery, false arrest and imprisonment, and intentional infliction of emotional distress.

2. Plaintiff Diane Bond, a forty-nine-year-old African-American woman, sues the
Individual Defendants for their ongoing physical, sexual, and psychological abuse and intimidation
of l\/ls. Bond in and around her own home, perpetrated under their color of authority as Chicago
Police Officers, and motivated by Defendants’ gender and racial anima against Ms. Bond.
Defendants have preyed upon Ms. Bond for nearly a year, causing her to live in a state of fear.

JURISDICTION AND VENUE

3. The jurisdiction of the Court is conferred by 28 U.S.C. §§ 1331 and 1343, and
supplemental jurisdiction is conferred by 28 U.S.C. § 1367.

4. Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. § 1391,

because all defendants reside in the districtl

 

1 Hereafter, Defendants Utreras, Schoeff, Savicl<as, Stegmiller, Seinitz, Schultz, Cortesi, Cannon,
Franks, Novy, and John Does One through Five shall collectively be referred to as the
“lndividual Defendants.”

 

 

Case: 1:04-cv-02617Document #: 1 Filed: 04/12/04 Page 3’0{_ 23 Page|D #:3

PARTIES

5. Plaintiff Diane Bond is a forty-nine-year~old African-American Woman, a resident of
Cook County, Illinois, and a United States citizen.

6. Defendants Edwin Utreras, Andrew Schoeff, Christ Savickas, Robert Stegmiller,
Joseph Seinitz, Robert Schultz, Nicholas Cortesi, John Cannon, Robert Franks, and Wayne Novy are
sworn officers of the Chicago Police Department who are sued in their individual capacities for
actions they took by virtue of their authority as police officers.

7. Defendant Edwin Utreras, at all times relevant to this Complaint, acted under color of
state law as a police officer of the City of Chicago, and acted in the course and within the scope of
his employment

8. Defendant Andrew Schoeff, at all times relevant to this Complaint, acted under color
of state law as a police officer of the City of Chicago, and acted in the course and Within the scope of
his employment

9. Defendant Christ Savickas, at all times relevant to this Complaint, acted under color
of state law as a police officer of the City of Chicago, and acted in the course and within the Scope of
his employment

10. Defendant Robert Stegmiller, at all times relevant to this Complaint, acted under color
of state law as a police officer of the City of Chicago, and acted in the course and within the scope of
his employment

1 1. Defendant Joseph Seinitz, at all times relevant to this Complaint, acted under color of
state law as a police officer of the City of Chicago, and acted in the course and Within the scope of

his employment

 

Case: 1:O4-cv-02617 Do'cument #: 1 Filed: 04/12/04 Page 491‘_;3 Page|D #:4
f \.

12. Defendant Robert Schultz at all times relevant to this Complaint, acted under color of
state law as a police officer of the City of Chicago, and acted in the course and within the scope of
his employment

13. Defendant Nicholas Cortesi at all times relevant to this Complaint, acted under color
of state law as a police officer of the City of Chicago, and acted in the course and within the scope of
his employment

14. Defendant .Tohn Cannon at all times relevant to this Complaint, acted under color of
state law as a police officer of the City of Chicago, and acted in the course and within the scope of
his employment

15. Defendant Robert Franks at all times relevant to this Complaint, acted under color of
state law as a police officer of the City of Chicago, and acted in the course and within the scope of
his employment

16. Defendant Wayne Novy at all times relevant to this Complaint, acted under color of
state law as a police officer of the City of Chicago, and acted in the course and within the scope of
his employment

17. Defendant Chicago Police Officers John Does One through Five are sworn male,
Caucasian officers of the Chicago Police Department whose names and star numbers are not now
known to Plaintiff. These defendants are sued in their individual capacities for actions they took by
virtue of their authority as Chicago Police Officers. At all times material to this Complaint, these
defendants acted under color of state law as police officers of the City of Chicago and within the

scope of their employment

 

Case: 1:O4-cv-02617 Dospment #: 1 Filed: 04/12/04 Page 5}{\23 Page|D #:5

18. Defendant City of Chicago is an Illinois municipal corporation, and was, at all times
material to this Complaint, the employer and principal of Defendants Utreras, Schoeff, Savickas,
Stegmiller, Seinitz, Schultz, Cortesi, Cannon, Franks, Novy, and John Does One through Five.

FACTS
April 13, 2003 Incident
19. At approximately 5:00 p.m. on April 13, 2003, Plaintiff Diane Bond walked up the

stairs of her Stateway Gardens apartment building, located at 3651 South Federal in Chicago,

lllinois.

20. As she approached her home, Ms. Bond encountered four or more of the Individual
Defendants.

21. One of the lndividual Defendants, without any_provocation or lawful justification,

pressed his gun against Ms. Bond’s temple and demanded to know where she lived. With his gun
pressed against Ms. Bond’s head, he tore her house keys from her hand, opened the door to her
home, and forced Ms. Bond inside the apartment

22. After the Defendant opened the door to Ms. Bond’s home, three or more additional
Individual Defendants entered Ms. Bond’s apartment

23. The Individual Defendants imprisoned Ms. Bond in her own home, handcuffing her
behind her back, while they searched her home.

24. The lndividual Defendants threw Ms. Bond’s personal belongings throughout the
apartment and damaged her personal property Among other things, they broke her drinking glasses

and certain objects that held religious meaning to Ms. Bond.

Case: 1:O4-cv-02617 [_)oc~ument #: 1 Filed: 04/12/04 Page 691\§3 Page|D #:6

25. Ms. Bond’ s then teen-age son and his friend were also present inside her home. Ms.
Bond was forced to watch in handcuffs as two of the Individual Defendants entered her son’s
bedroom, handcuffed her son and his friend locking their hands behind their backs, and beat them.

26. ln response to Ms. Bond’s verbal protest of Defendants’ search of her horne and
beating of her son, one of the Individual Defendants yelled, “Shut up, Cunt!” as he struck her in the
face and kicked her in the side.

27'. He then knocked down a painting of a brown-skinned Jesus Christ that was hanging
above Ms. Bond’s head. When she asked him to pick up her picture of Chn`st, he cursed, “Fuck
Jesus and you too, Bitch,” mocking her deeply held religious beliefs.

28. Another Individual Defendant forced Ms. Bond up, as she sat crying on the floor. He
took Ms. Bond inside her bedroom, closed the bedroom door, removed his police vest from his body,
and laid the vest down near Ms. Bond’s bed. He then removed Ms. Bond’s handcuffs, and
threatened to plant drugs on her and to falsely charge her with a crime if she did not do what he
demanded

29. A third Indi vidual Defendant entered Ms. Bond’ s bedroom, seized her by her arm, and
ordered her to accompany him inside her closet-sized bathroom. He closed the door to the bathroom
and stood within a foot or two of her body. The Defendant ordered Ms. Bond to unfasten her bra and
shake it out. He commanded that she open her pants and pull them down. He then ordered that she
place her full hand inside the front of her panties. The Defendant then forced her to push the front of
her panties away from her body and toward him, exposing the most private areas of her body, as he
stared and smirked. He then compelled Ms. Bond to bring her panties back in contact with her pubic

area, keeping her hand inside the front side of her underwear near her vagina. He ordered Ms. Bond

Case: 1:O4-cv-02617_Dor;ument #: 1 Filed: 04/12/04 Page ?pt\ZS Page|D #:7

to do it again. And again. And again. The Individual Defendant threatened to incarcerate Ms. Bond,
if she did not submit to his commands

30. ln the hope to end her abuse, Ms. Bond held out her hands in front of her body so that
the Defendant could handcuff her again and take her to jail. Instead, he opened the door to the
bathroom and ordered Ms Bond to sit on the floor, while another Individual Defendant repeatedly
beat a middle-aged African-Arnerican man, whom Defendants had brought inside Ms. Bond’s horne
without her permission or consent The Defendant punched him again in the face causing him to fall
into Ms. Bond’s framed painting of the Last Supper and breaking the glass inside the frame.

31. The Individual Defendants compelled Ms. Bond to sit on the floor and Watch, while
they forced her son to perform a sadistic, racist, and demeaning show for the Officers, at the threat of
incarceration They uncuffed Ms. Bond’s son and his friend and ordered them to punch and beat up
the middle-aged African-American man whom Defendants brought uninvited inside Ms. Bond’s
home. The Individual Defendants laughed as they demeaned Ms. Bond and her son.

32. The Individual Defendants left Ms. Bond’s home laughing, after they had degraded
Ms. Bond and her son.

33. At no time on April 13, 2003, did Ms. Bond give her permission or consent to any of
the Individual Defendants to enter or search her home.

34. At no time did Ms. Bond provide the Individual Defendants with probable cause or
any legal justification to search or seize her person, her home, or her personal belongings

35. The Individual Defendants did not possess any search warrant to search Ms. Bond’s

home nor an arrest warrant to arrest anyone in Ms. Bond’s household

 

 

Case: 1:O4-cv-02617 Boeument #: 1 Filed: 04/12/04 Page §,ot\ZS Page|D #:8

36. The Individual Defendants’ physical and mental abuse and humiliating search of Ms.
Bond were excessive, unreasonable, and unsupported by any legal justification

37. On April 14, 2003, Ms. Bond reported the Individual Defendants’ abuse of their
police powers to the City of Chicago’s Office of Professional Standards.

April 28, 2003

38. At approximately 7':30 p.m., on April 28, 2003, two of the Individual Defendants
seized l\/ls. Bond in the stairway leading to her apartment without any probable cause or other lawful
justification

39. They dragged her up the stairs by her coat

40. The Defendants shouted and cursed at Ms. Bond, “Give me your fucking keys !” As
one of the Individual Defendants held Ms. Bond by her coat, the other demanded Ms. Bond’s house
keys and struck Ms. Bond in her face1 causing her to urinate on herself out of fear.

41. Defendants seized Ms. Bond’s keys from her person against her will and used the
keys to unlock the front door to her home.

42. Five or more of the Individual Defendants entered Ms. Bond’s home without her
permission or consent

43. The Defendants also seized two young African-American men and brought them
inside Ms. Bond’s home without her permission or consent

44. Members of the Individual Defendants searched through Ms. Bond’s home and
possessions When Ms. Bond begged them not to destroy certain items of religious significance, one
of the Individual Defendants intentionally knocked Ms. Bond’ s icon of the Virgin Mary to the floor,

broke the statue, and mocked Ms. Bond and her beliefs “Fuck the Virgin Mary,” he said.

 

CaSe: 1:O4-cv-02617_/Document #: 1 Filed: 04/12/04 Page@"sf 23 Page|D #:9

45. Three of the Individual Defendants, all white male Chicago Police Officers,
demanded that Ms. Bond join them inside her bedroom. They ordered her to undress.

46. One of the Individual Defendants thrust a pair of needle-nose pliers in Ms. Bond’s
face and threatened to pull out her teeth, unless she removed her clothes in the presence of the three
white male officers The Defendants forced Ms. Bond to pull down her pants and underwear,
exposing her genitalia to the male Defendants, The Individual Defendants further commanded that
Ms. Bond reach inside her vagina as she stood before them.

47. The Individual Defendants threatened to plant drugs on her and incarcerate her, and
otherwise verbally abused, intimidated, and humiliated her.

48. At no time on April 28, 2003 did Ms. Bond give her permission or consent to any of
the Individual Defendants to enter or search her home or to search her body,

49. The Individual Defendants did not possess any search warrant to search Ms. Bond’s
home nor an arrest warrant to arrest anyone in Ms. Bond’s household

50. At no time did Ms. Bond provide the Individual Defendants with probable cause or
any legal justification to search or seize her person, her home, or her personal belongings

51. The Individual Defendants’ physical abuse and humiliating search of Ms. Bond were
excessive, unreasonable, and unsupported by any legal justification

52. Ms. Bond filed a second official misconduct complaint with the City of Chicago’s
Office of Professional Standards against the Individual Defendants for their abuse on April 28, 2003.

April 30, 2003
53 . On April 30, 2003, at around 1 1130 p.m., two of the Individual Defendants confronted

Ms. Bond in the lobby of her apartment building at 3651 South Federal in Chicago.

 

 

Case: 1:O4-cv-02617 Document #: 1 Filed: 04/12/04 Page 19rof 23 Page|D #:10

54. One of the Defendants seized Ms. Bond by her arm, and demanded the keys to her
home,

55. As Ms. Bond stood in fear of another assault the Defendant grabbed Ms. Bond
around her throat, pushed her up against the elevator door to her apartment building, and threatened,
“I`ll beat your motherfucking ass.”

56. Ms. Bond cried for help, as the Defendant choked and cursed her.

57. Despite Ms. Bond’s pleas, the second Individual Defendant stood by and kept a look
out for his partner, While he choked Ms. Bond. He facilitated and assisted Defendant’s choking of
Ms. Bond, and refused to intercede despite a reasonable opportunity to do so. When a private citizen
pleaded with him to aid Ms. Bond, the second Individual Defendant thumped his hand against the
man’s chest and refused to intervene

58. Other residents from the building responded to Ms. Bond’s cries for help.

59. Due to their intervention, the Defendants ultimately released Ms. Bond’s throat and
told her to “get the fuck out of here.”

60. At no time did Ms. Bond provide the Individual Defendants with probable cause or
any legal justification to seize her person.

61. The Individual Defendants’ seizure and physical abuse of Ms. Bond were
unreasonable, excessive, and unsupported by any legal justificationl

March 29 and 30, 2004
62. At approximately l 1:40 p.m., on March 29, 2004, Ms. Bond was walking down the

stairs of her apartment building at 3651 South Federal.

10

 

 

Case: 1:O4-cv-02617 Doput;rrent #: 1 Filed: 04/12/04 Page 11 9123 Page|D #:11

63. The same Defendant who had choked Ms. Bond in April 2003 confronted her in the
stairwell with a screwdriver in his hand, along with another Individual Defendant The Defendant
who had choked Ms. Bond ordered her to come to him and threatened to stick her in the neck with
the screwdriver.

64. The two Individual Defendants seized Ms. Bond and wrestled her to the ground
They pulled and twisted Ms. Bond’s arm behind her back, causing her extreme pain, and forced
handcuffs around her wrists Ms. Bond screamed and Cried for help, in fear for her life and of further
sexual abuse

65. As Ms. Bond continued to scream for help, the Individual Defendants pulled her off
of the ground and removed her handcuffs One Individual Defendant placed his finger over his lips,
and warned her not to say anything about what happened

66. The next night, March 301 2003, after 8:00 p.m., the same Individual Defendant Who
had warned her not to say anything about the incident stood outside Ms. Bond’s home

67. Ms. Bond emerged wearing a sling on her right arm that the Defendant had pulled and
twisted the night before The Defendant called to Ms. Bond and nodded at her arm, “What happened
to you'?” he mocked in feigned ignorance

68. At no time did Ms. Bond provide the Individual Defendants with probable cause or
any legal justification to seize her person

69. The Individual Defendants’ seizure and physical abuse of Ms. Bond were

unreasonable, excessive1 and unsupported by any legal justification

11

Case: 1:O4-cv-02617 Do'C`ument #: 1 Filed: 04/12/04 Page 12rot 23 Page|D #:12

ALLEGATIONS OF INTENTIONAL CONDUCT AND CAUSATION

70. Each of the Individual Defendants acted or failed to act knowingly and intentionally,
maliciously, wantonly or with reckless or callous disregard of, or indifference to, the rights of Ms.
Bond

71. The Individual Defendants1 seizures of Ms. Bond, the searches of her body, home,
and belongings, physical beatings, physical abuse, choking, assaults, intimidation, and humiliation of
Ms. Bond, destruction of her property, and vilification of Ms. Bond’s religious beliefs and certain
icons were undertaken with the intent to discriminate against Ms. Bond’s on account of her gender,
race, and the color of her skin

72. By their actions and omissions, the Individual Defendants violated and abused Ms.
Bond’s body and home, desecrated her most treasured icons and religious beliefs, violated her
Constitutional rights, and robbed Ms. Bond of any feeling of security, leaving Ms. Bond traumatized
and violated, in a constant state of fear in and around her own home.

73. As a direct and proximate result of the conduct of the Individual Defendants described
above, Ms. Bond suffered and continues to suffer mental and emotional distress, including but not
limited to extreme fear, anxiety, mental pain, anguish, embarrassment humiliation feelings of
powerlessness, harm to her self esteem1 and the loss of the sense of personal safety in and around her
home ln addition Ms. Bond suffered physical pain to her head, neck, face, and eye‘, she suffered
and continues to suffer intense pain in her right arm, which was required to be immobilized in a

sling; and she was deprived of personal property inside her home

12

 

 

Case: 1:O4-cv-02617 Docutnent #: 1 Filed: 04/12/04 Page 1394‘\23 Page|D #:13

CLAIM 1: FOURTH AND FOURTEENTH AMENDMENTS
(lllegal Search of Person, Home, and Effects)

74. Plaintiff realleges and incorporates herein paragraphs 1 through 73 above

75. Plaintiff asserts Claim 1 of this action against Individual Defendants in their
individual capacities Claim I arises under 42 U.S.C. § 1983.

76. The Individual Defendants’ unreasonable and illegal searches of Plaintiff’s person,
home, and personal possessions undertaken without a warrant probable cause, or reasonable
suspicion, deprived Plaintiff of her Fourth and Fourteenth Amendment rights to be secure in her
person1 home1 papers, and effects against unreasonable searches and seizures

7'7. The aforementioned actions and omissions in the face of a Constitutional duty to
intercede by the Individual Defendants were the direct and proximate cause of Plaintiff’s
Constitutional violations, physical and emotional injuries, loss of personal freedom, and loss of
personal property, as set forth more fully above.

78. Each of the Individual Defendant's actions and omissions was intentional, willful1
and exhibited a conscious disregard or reckless indifference to Plaintiff’s rights The award of
punitive damages against each Defendant is necessary to punish him for his misconduct and to deter
similar misconduct

WHEREFORE, Plaintiff prays that the Court:

(A) Enter a declaratory judgment that the Individual Defendants violated Plaintiff’s right
to be secure in her person, home1 papers, and effects as guaranteed by the Fourth and Fourteenth

Amendments to the United States Constitution',

13

 

Case: 1:O4-cv-02617 DGEument #: 1 Filed: 04/12/04 Page 14’ot 23 Page|D #:14

(B) Enter an appropriate Protective Order, preliminary injunction and then a permanent
injunction enjoining the Individual Defendants from their ongoing physical, sexual, and
psychological abuse of Plaintiff;

(C) Award Plaintiff judgment against each of the Individual Defendants, jointly and
severally, for actual compensatory damages in an amount to be determined at trial;

(D) Award Plaintiff judgment against each of the Individual Defendants, jointly and
severally, for appropriate punitive damages in an amount to be determined at trial‘,

(E) Award costs, expenses and reasonable attorneys1 fees pursuant to 42 U.S.C. § 1988;

(F) Grant such other and further relief as this Court deems equitable and just

CLAIM II: FOURTH AND FOURTEENTH AMENDMENTS
(Unlawful and Unreasonable Seizure and Detention)

79. Plaintiff realleges and incorporates herein paragraphs 1 through 73 above

80. Plaintiff asserts Claim II of this action against Individual Defendants in their
individual capacities Claim II arises under 42 U.S.C. § 1983.

81. The Individual Defendants’ false arrest of Plaintiff and unlawful and unreasonable
seizure of Plaintiff’s person and effects without a warrant probable cause, or reasonable suspicion
deprived Plaintiff of her Fourth and Fourteenth Amendment rights to be secure in her person, home,
papers1 and effects against unreasonable searches and seizures

82. The aforementioned actions and omissions in the face of a Constitutional duty to
intercede by the Individual Defendants were the direct and proximate cause of Plaintiff’s
Constitutional violations, physical and emotional injuries, loss of personal freedom, and loss of

personal property, as set forth more fully above

14

 

 

Case: 1:O4-cv-02617 D’®ument #: 1 Filed: 04/12/04 Page 15"of 23 Page|D #:15

83. Each of the Defendant's actions and omissions was intentional, Willful, and exhibited
a conscious disregard or reckless indifference to Plaintiff’s rights The award of punitive damages
against each Defendant is necessary to punish each Defendant for his misconduct and to deter
similar misconduct

WHEREFORE, Plaintiff prays that the Court:

(A) Enter a declaratory judgment that the Individual Defendants violated Plaintiff’s right
to be secure in her person, home, papers, and effects against unreasonable searches and seizures as
guaranteed by the Fourth and Fourteenth Amendments to the United States Constitution;

(B) Enter an appropriate Protective Order, preliminary injunction and then a permanent
injunction enjoining the Individual Defendants from their ongoing physical, sexual, and
psychological abuse of Plaintiff;

(C) Award Plaintiff judgment against each of the Individual Defendants, jointly and
severally, for actual compensatory damages in an amount to be determined at trial',

(D) Award Plaintiff judgment against each of the Individual Defendants, jointly and
severally, for appropriate punitive damages in an amount to be determined at trial;

(E) Award costs, expenses, and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988',

(F) Grant such other and further relief as this Coui“t deems equitable and just

CLAIM lll: FOURTH AND FOURTEENTH AMENDMENT
(Excessive Force)

84. Plaintiff realleges and incorporates herein paragraphs 1 through 73 above.
85. Plaintiff asserts Claim 111 of this action against the Individual Defendants in their

individual capacity. Claim 111 arises under 42 U.S.C. § 1983.

15

 

Case: 1:O4-cv-O2617 D’o`cument #: 1 Filed: 04/12/04 Page 16`01c 23 Page|D #:16

86. The Individual Defendants’ physical beating, physical abuse, choking, assault
intimidation and humiliation of Plaintiff without probable cause deprived Plaintiff of her Fourth and
Fourteenth Amendment rights to be free from the use of excessive and unreasonable force

87. The aforementioned actions and omissions in the face of a Constitutional duty to
intercede by the Individual Defendants were the direct and proximate cause of Plaintiff’s
Constitutional violations, physical and emotional injuries, destruction of her personal property, and
loss of personal freedom, as set forth more fully above

88. Each of the Defendant's actions and omissions was intentional, willful, and exhibited
a conscious disregard or reckless indifference to Plaintiff’s lights The award of punitive damages
against each Defendant is necessary to punish each Defendant for his misconduct and to deter
similar misconduct

WHEREFORE, Plaintiff prays that the Court:

(A) Enter a declaratoryjudgment that the Individual Defendants violated Plaintiff’s right
to be free from the use of excessive and unreasonable force as guaranteed by the Fourth and
Fourteenth Amendments to the United States Constitution;

(B) Enter an appropriate Protective Order, preliminary injunction and then a permanent
injunction enjoining the Individual Defendants from their ongoing physical, sexual, and
psychological abuse of Plaintiff;

(C) Award Plaintiff judgment against each of the Individual Defendants, jointly and
severally, for actual compensatory damages in an amount to be determined at trial',

(D) Award Plaintiff judgment against each of the Individual Defendants, jointly and

severally, for appropriate punitive damages in an amount to be determined at trial',

16

 

 

Case: 1:O4-cv-O2617 |ZFo`cument #: 1 Filed: 04/12/04 Page 1’7_of 23 Page|D #:17

(E) Award costs, expenses and reasonable attomeys’ fees pursuant to 42 U.S.C. § 1988;
(F) Grant such other and further relief as this Court deems equitable and just

CLAIM 1\/: FOURTEENTH AMENDMENT
(Equal Protection)

89. Plaintiff realleges and incorporates herein paragraphs 1 through 73 above

90. Plaintiff asserts Claim IV of this action against the Individual Defendants in their
individual capacities Claim IV arises under 42 U.S.C. § 1983.

91. The actions and omissions of the Individual Defendants, in seizing Plaintiff, searching
her body, home, and belongings, physical beating and abusing her, assaulting, intimidating, and
humiliating her, were undertaken with the intent to discriminate against Plaintiff on account of
Plaintiff’s gender, race, and color of her skin, denying Plaintiff of her Fourteenth Amendment right
to equal protection under the law.

92. The Individual Defendants singled Plaintiff out for abuse (as set forth more fully
above) and treated her differently from other similarly situated persons The Individual Defendants’
differential treatment of Plaintiff was intentional, malicious, and motivated by ill-will. Their
differential treatment was also motivated by their gender and racial anima. In addition their
differential treatment of Plaintiff was arbitrary and irrational.

93. The aforementioned actions and omissions in the face of a Constitutional duty to
intercede by the Individual Defendants were the direct and proximate cause of Plaintiff’s
Constitutional violations, physical and emotional injuries loss of personal freedom, and loss of

personal property, as set forth more fully above

17

 

Case: 1:O4-cv-O2617 D’ocument #: 1 Filed: 04/12/04 Page lgof 23 Page|D #:18

94. Each of the Defendant’s actions and omissions was intentional, willful, and exhibited
a conscious disregard or reckless indifference to Plaintiff’s rights The award of punitive damages
against each Defendant is necessary to punish each Defendant for his misconduct and to deter
similar misconduct

WHERBFORE, Plaintiff prays that the Court:

(A) Enter a declaratoryjudgment that the Individual Defendants violated Plaintiff’s right
to equal protection under the law as guaranteed by the Fourteenth Amendment to the United States
Constitution;

(B) Enter an appropriate Protective Order, preliminary injunction and then a permanent
injunction enjoining the Individual Defendants from their ongoing physical, sexual, and
psychological abuse of Plaintiff;

(C) Award Plaintiff judgment against each of the Individual Defendants, jointly and
severally, for actual compensatory damages in an amount to be determined at trial;

(D) Award Plaintiff judgment against each of the Individual Defendants, jointly and
severally, for appropriate punitive damages in an amount to be determined at trial;

(E) Award costs, expenses and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988;

(F) Grant such other and further relief as this Court deems equitable and just

CLAIM V: ILLINOIS HATE CRIME STATUTE
95. Plaintiff realleges and incorporates herein paragraphs 1 through 73 above
96. Plaintiff asserts Claim V of this complaint arising under the private right of action

included in the Illinois Hate Crimes Statute, 720 ILCS 5/12-7.1, against the Individual Defendants

18

 

 

Case: 1:O4-cv-O2617 Do®ment #: 1 Filed: 04/12/04 Page 19/ot23 Page|D #:19

and their employer, the City of Chicago. This Court hasjurisdiction of this claim under 28 U.S.C. §
1367.

97. The Individual Defendants’ assault battery, trespass to her home, and damage to her
property, as set forth more fully above1 were intentional, willful, wanton, malicious and motivated,
in whole or in part by the Plaintiff’s gender, race, color, and ancestry, in violation of Illinois statute
720 ILCS 5/12-7.1(a).

98. The aforementioned actions of the Individual Defendants were the direct and
proximate cause of Plaintiff’s physical and emotional injuries and loss of personal property, as set
forth more fully above

99. The actions committed by the Individual Defendants were undertaken within the
scope of their employment as police officers of the City of Chicago.

WHEREFORE, Plainti ff prays that the Court:

(A) Award Plaintiffjudgment against each of the Individual Defendants and the City of
Chicago, jointly and severally, for actual compensatory damages in an amount to be determined at
trial;

(B) Award Plaintiff judgment against each of the Individual Defendants (excluding the
City of Chicago), jointly and severally, for appropriate punitive damages in an amount to be
determined at trial',

(C) Award costs expenses and reasonable attorneys` fees;

(D) Grant such other and further relief as this Court deems equitable and just

CLAIM VI; lLLINOIS BATTERY

100. Plaintiff realleges and incorporates herein paragraphs 1 through 73 abovel

19

Case: 1:O4-cv-O2617 Doc'ument #: 1 Filed: 04/12/04 Page 20/oi 23 Page|D #:20

101. Plaintiff asserts Claim VI of this complaint arising under Illinois common law,
against the Individual Defendants and their employer, the City of Chicago. This Court has
jurisdiction of this claim under 28 U.S.C. § 1367.

102. The Individual Defendants subjected Plaintiff to contact of an insulting and provoking
nature and caused Plaintiff bodily harm, directly and proximately causing Plaintiff’s physical and
emotional injuries as set forth above The Individual Defendants thereby subjected Plaintiff to the
tort of battery under Illinois law.

103. The Individual Defendants’ actions and omissions as set forth above, were
intentional, willful, wanton, malicious and without probable cause, provocation1 or legal
justification and/or with reckless disregard for their natural consequences

104. The actions committed by the Individual Defendants described above were
undertaken within the scope of their employment as police officers of the City of Chicago.

WHEREFORE, Plaintiff prays that the Court:

(A) Award Plaintiffjudgment against each of the Individual Defendants and the City of
Chicago, jointly and severally, for actual compensatory damages in an amount to be determined at
trial',

(B) Award Plaintiff judgment against each of the Individual Defendants (excluding the
City of Chicago), jointly and severally, for appropriate punitive damages in an amount to be
determined at trial;

(C) Award costs expenses and reasonable attorneys’ fees;

(D) Grant such other and further relief as this Court deems equitable and just

20

 

Case: 1:O4-cv-O2617 Document #: 1 Filed: 04/12/04 Page 21 ots23 Page|D #:21

CLAIM VH: ILLINOIS FALSE ARREST AND lMPRISONMENT

105. Plaintiff realleges and incorporates herein paragraphs 1 through 73 above

106. Plaintiff asserts Claim VII of this complaint arising under Illinois common law,
against the Individual Defendants and their employer, the City of Chicago. This Court has
jurisdiction of this claim under 28 U.S.C. § 1367.

107. The lndividual Defendants’ seizure and arrest of the Plaintiff without a warrant and
without probable cause were intentional, willful, wanton, and unreasonable, they denied Plaintiff her
personal liberty against her will; and they constitute the tort of false arrest and imprisonment under
Illinois law. Further, these actions directly and proximately caused Plaintiff’s injuries as set forth
more fully above

108. The actions committed by the Individual Defendants described above were
undertaken within the scope of their employment as police officers of the City of Chicago.

WHEREFORE, Plaintiff prays that the Court:

(A) Award Plaintiffjudgment against each of the Individual Defendants and the City of
Chicago, jointly and severally, for actual compensatory damages in an amount to be determined at
trial;

(B) Award Plaintiffjudgment against each of the Individual Defendants (excluding the
City of Chicago)1 jointly and severally, for appropriate punitive damages in an amount to be
determined at trial',

(C) Award costs expenses and reasonable attorneys’ fees;

(D) Grant such other and further relief as this Court deems equitable andjust

21

 

Case: 1:O4-cv-O2617 Uocument #: 1 Filed: 04/12/04 Page 22`of 23 Page|D #:22

CLAIM VIII: 1LLINOIS INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

109. Plaintiff realleges and incorporates herein paragraphs 1 through 73 above

l 10. Plaintiff asserts Claim VIII of this action, an Illinois common law action for
intentional infliction of emotional distress against the Individual Defendants and their employer, the
City of Chicago. This Court has jurisdiction of this claim under 28 U.S.C. § 1367.

l 1 1. The actions committed by the Individual Defendants as described above were extreme
and outrageous they were undertaken willfully, wantonly and maliciously, with the intent to cause
Plaintiff severe emotional distress and they caused and continue to cause Plaintiff severe emotional
distress

1 12_ The actions committed by the Individual Defendants described above were
undertaken within the scope of their employment as police officers of the City of Chicago.

WHEREFORE, Plaintiff prays that the Court:

(A) Award Plaintiffjudgment against each of the Individual Defendants and the City of
Chicago, jointly and severally, for actual compensatory damages in an amount to be determined at
trial',

(B) Award Plaintiff judgment against each of the Individual Defendants (excluding the
City of Chicago), jointly and severally, for appropriate punitive damages in an amount to be
determined at trial',

(C) Award costs expenses and reasonable attorneys’ fees;

(D) Grant such other and further relief as this Court deems equitable and just

22

 

 

Case: 1:O4-cv-O2617 Doc)ament #: 1 Filed: 04/12/04 Page 23 of23 Page|D #:23

CLAIM lX: ILLINOIS LOCAL GOVERNMENT AND LOCAL GOVERNMENT
EMPLOYEES TORT lMMUNITY ACT
(745 ILCS 10/9-102B)

1 13. Plaintiff realleges and incorporates herein paragraphs 1 through 73 above

t 14. Claim lX of this Complaint is an Illinois statutory claim against Defendant City of
Chicago. This Court hasjurisdiction of this claim under 28 U.S.C. § 1367.

l 15. Defendant City of Chicago is the employer of each of the Individual Defendants

116. Each of the Individual Defendants committed the acts and omissions alleged above
under color of state law and in the scope of their employment as employees of the City of Chicago.

Wl-IEREFORE, should any of the Individual Defendants be found liable on one or more of
the claims set forth above Plaintiff prays that, pursuant to 745 [LCS 10/9-102]3, the DefendantCity
of Chicago be found liable for any judgment Plaintiff obtains thereon against said defendants as well

as for all attorneys’ fees and costs awarded

PLAINTIFF DEMANDS TRlAL BY JURY ON ALL CLAIMS.

Respectfully submitted,

 

One of Plaintiff’s Attomeys
Date: April 12, 2004

Craig B. Futterman

Karen Soares Senior Law Student*
EDWIN F. MANDEL LEGAL AID CLINIC
University of Chicago Law School

6020 S. University

Chicago1 Illinois 60637

(773) 702-9611

*Deborah Pugh, a second year law student at the University of Chicago, assisted in the preparation of
this Complaint

23

